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                                                 Appendix A
                                       Links to LDOE and EnrollNOLA
                                    Special Education Program Descriptions
                                            2017-2018 School Year

                  Name                                                        Web
                                                                             Address
LDOE Website Link                     http://www.louisianabelieves.com/resources/library/special-education-program-
                                      descriptions---orleans-type-2-or-type-5
EnrollNOLA Link                       https://enrollnola.org/resources/faqs/
                                      Program descriptions are linked in the response to the question: My child has
                                      special needs. How do I know if a school can accommodate him or her?
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                                          Recovery School District Charter Schools
                                      Links to Special Education Program Descriptions
                                                  2017-2018 School Year

             Charter School Association/                                       Web Address
                     LEA Name
Board of Elementary and
Secondary Education (BESE)
International School of LA (K-8)               http://isl-edu.org/academics/education-services
International High School of LA (9-12)         http://www.ihsnola.org/wp-content/uploads/Special-Education-Program-
                                               Description-IHSNO.pdf
Lycee' Francais (PK-5)                         http://www.lfno.org/handbook-forms/
                                               Under "Academic Resources"
Milestone Academy (K-8)                        Closed for the 2017-2018 SY
NO Military & Maritime HS (9-12)               http://nomma.net/parents.html
                                               Under "Resources"

Algiers Charter School Association
Martin Behrman (PK-8)                          http://algierscharterschools.org/exceptional-student-services-program/
Eisenhower (PK-8)                              http://algierscharterschools.org/exceptional-student-services-program/
Fischer Accelerated (PK-8)                     http://algierscharterschools.org/exceptional-student-services-program/
McDonogh 32 (PK-8)                             http://algierscharterschools.org/exceptional-student-services-program/
Algiers Technology Academy (9-12)              Closed for the 2017-2018 SY
Landry-Walker (9-12)                           http://algierscharterschools.org/exceptional-student-services-program/

ARISE Schools
ARISE Academy (K-8)                            http://www.ariseschools.org/special-education/
Mildred Osborne (K-8)                          http://www.ariseschools.org/special-education/

Choice Foundation
Esperanza (PK-8)                               Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
Lafayette Academy (PK-8)                       Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
McDonogh 42 (PK-8)                             Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
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         Charter School Association/                                           Web
                  LEA Name                                                    Address
Colligate Academies
GW Carver Collegiate (9-12)               http://collegiateacademies.org/page/79/diverse-learners
Livingston Collegiate Academy*            http://collegiateacademies.org/page/79/diverse-learners
Sci-Academy (9-12)                        Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
*New Charter School for 16-17 SY
Crescent City Schools
Akili Academy (K-8)                       http://akiliacademy.org/academics/our-approach/
Paul Habans (PK-8)                        http://www.habanscharterschool.org/academics/our-approach/
Harriet Tubman (K-8)                      http://tubmancharterschool.org/special-education/

FirstLine
Arthur Ashe (K-8)                        Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
Phillis Wheatley (PK-8)                  Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
Samuel J. Green (K-8)                    Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
Langston Hughes (PK-8)                   Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
J.S. Clark Prep (9-12)

Friends of King
Joseph A Craig (PK-8)                     http://www.friendsofking.com/critical-documents/

KIPP: New Orleans
KIPP Belive Primary (K-4)                 https://kippneworleans.org/content/special-education-program-descriptions
KIPP Believe Academy (5-8)                https://kippneworleans.org/content/special-education-program-descriptions
KIPP Central City Primary (K-4)           https://kippneworleans.org/content/special-education-program-descriptions
KIPP Central City Academy (5-8)           https://kippneworleans.org/content/special-education-program-descriptions
KIPP East Community Primary (K-1)         https://kippneworleans.org/content/special-education-program-descriptions
KIPP McDonogh 15 Primary (Morial)         https://kippneworleans.org/content/special-education-program-descriptions
KIPP McDonogh 15 Middle (Morial)          https://kippneworleans.org/content/special-education-program-descriptions
KIPP NO Leadership Primary (K-4)          https://kippneworleans.org/content/special-education-program-descriptions
KIPP NO Leadership Academy (5-8)          https://kippneworleans.org/content/special-education-program-descriptions
KIPP Renaissance Early College Academy    Transitioned to OPSB on 7/1/16
KIPP Booker T. Washington High School*    https://kippneworleans.org/content/special-education-program-descriptions
*New Charter School for the 2016-2017
SY; formerly named KIPP Woodson
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          Charter School Association/                                           Web
                  LEA Name                                                     Address
New Beginnings
Pierre A Capdau                           Transitioned to OPSB on 7/1/16
Gentilly Terrace (PK-8)                   Closed for the 2017-2018 SY
Medard H Nelson (PK-8)                    http://www.nbsfnola.com/schools/medard-nelson
                                          Button on the right links to the program description
Lake Area New Tech                        Transitioned to OPSB on 7/1/16

New Orleans College Prep
Lawerence D Crocker (PK-7)                https://nolacollegeprep.org/academics
                                          Under "Student Support Services" tab
Sylvanie Williams (PK-5)                  https://nolacollegeprep.org/academics
                                          Under "Student Support Services" tab
Cohen College Prep (8-12)                 https://nolacollegeprep.org/academics
                                          Under "Student Support Services" tab

ReNew Schools
Cultural Arts Academy (PK-8)              https://renewschools.org/renew-cultural-arts-academy/
Dolores T Aaron (PK-8)                    https://renewschools.org/renew-dolores-t-aaron-academy/
McDonogh City Park (PK-8)                 https://renewschools.org/mcpa/
Schaumburg (PK-8)                         https://renewschools.org/renew-schaumburg-elementary/
SciTech (PK-8)                            https://renewschools.org/sta/
Accelerated (9-12)                        https://renewschools.org/renew-accelerated-high-school/

Non-Network Charters/Elementary
Mary D. Coghill Accelerated (K-8)         Transitioned to OPSB on 7/1/16
Edgar P Harney (K-8)                      Transitioned to OPSB as a Type 3b Charter School for the 2017-2018 SY
Morris Jeff Community School (PK-7)       http://www.morrisjeffschool.org/campus/board-of-directors/compliance/
James M Singleton (PK-8)                  http://www.dryadesymca.org/singleton-charter-school-1.html
Success Prep (K-8)                        http://successpreparatory.org/pdf/success-prep-updated-program-description-may-
                                          2017.pdf
Fannie C Williams Charter School (PK-8)   http://fcwcs.org/sped-program-fcwcs-17/

Non-Network Charters/Secondary
Crescent Leadership (7-12)                http://crescentleadershipacademy.com
Sophie B Wright (7-12)                    http://www.sophiebwrightschool.com/apps/links/index.jsp
                                          Options tab
The NET Charter High School               http://www.thenetnola.org/apps/pages/index.jsp?uREC_ID=594231&type=d&pREC
: Central City                            _ID=1150034
The NET Charter High School: Gentilly**   http://www.thenetnola.org/apps/pages/index.jsp?uREC_ID=594231&type=d&pREC
                                          _ID=1150034
**New Charter School for 2017-2018 SY
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                                 Orleans Parish School District Network and Charter Schools
                                      Links to Special Education Program Descriptions
                                                  2017-2018 School Year


  Charter School Association/                                                Web
          LEA Name                                                          Address
Orleans Parish School Board           http://opsb.us/departments/exceptional-childrens-services/
                                      http://opsb.us/wp-content/uploads/2017/08/ECS-Program-Description.pdf


  Charter School Association/                                                Web
          LEA Name                                                          Address
Network Schools
Ben Franklin Elementary (PK-8)         http://opsb.us/wp-content/uploads/2012/10/OPSB_ECS_Program-Description_FINAL4_8-
                                       18-2016.pdf
Mary Bethune Elementary (PK-6)         http://www.marymcleodbethuneelementary.com/pages/Mary_Bethune_Accelerated_Scho
                                       o/BETHUNE_EAGLES_ALWAYS_S_O_A_R_/OPSB_Special_Education_Departm
                                       Exceptional Children Services Tab
Mahalia Jackson Elementary (PK-5)      http://www.mje-opsb.us/?PageName=%27ServicePage%27&ServiceID=%277845%27
                                       Exceptional Children Services Tab
McDonogh 35 High School                http://mcdonogh.la.opc.schoolinsites.com/
                                       Special Education Program Description Tab
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                                 Orleans Parish School District Network and Charter Schools
                                      Links to Special Education Program Descriptions
                                                  2017-2018 School Year

  Charter School Association/                                                   Web
          LEA Name                                                             Address
Charter Schools
Inspire NOLA
Alice-Harte (PK-8)                      http://www.alicemhartecharter.org/
                                        click on Academics tab then click on Exceptional Student Services tab
Andrew H. Wilson (PK-8)                 http://www.wilsoncharterschool.net/
                                        click on Academics tab then click on Exceptional Student Services tab
Edna Karr (9-12)                        http://www.ednakarr.org/
                                        click on Academics tab then click on Exceptional Student Services tab
Eleanor McMain Secondary (7-12)         http://www.eleanormcmain.org/
(transferred to this charter for the    click on Academics tab then click on Exceptional Student Services tab
17-18 SY)
McDonogh 42                             http://mcdonogh42-no.org/
(transferred to this charter for the    click on Academics tab then click on Exceptional Student Services tab
17-18 SY)
Einstein Charter Schools
Einstein Charter Middle School at      http://www.einsteincharter.org/academics/curriculum/
Sarah Towles Road
Einstein Charter High School at        http://www.einsteincharter.org/academics/curriculum/
Sarah Towles Road
Einstein Charter School at             http://www.einsteincharter.org/academics/curriculum/
Sherwood Forest
Einstein Charter School at             http://www.einsteincharter.org/academics/curriculum/
Village D’lest
Friends of King
Dr. Martin Luther King (PK-12)         http://www.friendsofking.com/critical-documents/
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                           Orleans Parish School District Direct Run and Charter Schools
                                   Links to Special Education Program Descriptions
                                               2017-2018 School Year
       Charter School Association/                                           Web
                LEA Name                                                          Address
Non-Network Charters
Audubon (PK3-8)                             http://www.auduboncharter.org/SpecialEducation.aspx
                                            click on ECS Program description tab
Bricolage (K-2)                             http://bricolagenola.org/student-life/important-annual-documents/
                                            click on Special Education Program Description
Cypress Academy (K1)                        http://www.cypressacademy.org/public-notices.html
                                            Exceptional Children’s Services Program Description Tab
Elan Academy**                               https://www.elanacademy.org/policy click on Exceptional Children Services
                                            Program Description under Documents and Forms
ENCORE Academy (PK-8)                       http://www.encorelearning.org/ourpages/auto/2016/8/30/41245750/ENCORE%20Ac
                                            ademy%20Program%20Description.pdf
Edward Hynes (PK-8)                         http://www.hynesschool.com/families/
                                            click on ECS Program Description Tab
Foundation Preparatory Charter School (K-1) http://foundationpreparatory.org/about-us/our-program/
                                            click on ECS Program Description Tab
Lake Forest (PK-8)                          http://www.lakeforestcharter.org/ click on Resources tab then click on OPSB Special
                                            Education Program Description Tab
Ben Franklin High School (9-12)             https://www.bfhsla.org/support-services click on Exceptional Children’s Service
                                            Program Description Tab under Support System
Lusher Middle School                        http://www.lusherschool.org/parents/special-education/
                                            click on Special Education Program Description
Lusher High School                          http://www.lusherschool.org/parents/special-education/
                                            click on Special Education Program Description
Robert Russa Moton (PK-7)                  http://opsb.us/wp-content/uploads/2017/08/Moton-Program-Description-1.pdf

Homer A. Plessey (PK-4)                      http://www.plessyschool.org/
                                             Click on For Families Tab, then Exceptional Child Services Tab
New Orleans Charter School Math &            http://www.noscihigh.org/ Click on Academics tab then on Special Education
Science                                      Services at Sci High; Click on Sci High Special Education Program Description
Rooted Charter School**                     https://www.rootedschool.org/board/splc/?rq=splc%20
Warren Easton High (9-12)                    http://warreneastoncharterhigh.org/index.jsp
                                             Home Tab, then Quick Links, then Exceptional Children’s Services Tab
**New on OPSB Website for the 17-18 SY
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                              Orleans Parish School District Direct Run and Charter Schools
                                    Links to Special Education Program Descriptions
                                                2017-2018 School Year


     Charter School Association/                                                Web
               LEA Name                                                        Address
Transferred from RSD to OPSB
for 16-17 SY
KIPP
KIPP Renaissance (9-12)                     http://opsb.us/wp-content/uploads/2017/08/KIPP-Renaissance-Program-
                                            Description.pdf
New Beginnings
Pierre A Capdau (K-8)                      http://opsb.us/wp-content/uploads/2017/08/Capdau-Program-Description-2.pdf

Lake Area New Tech (9-12)                  http://opsb.us/wp-content/uploads/2017/08/Lake-Area-Program-Description-3.pdf

Non-Network Charter School
Mary D Coghill Accelerated (K-8)            http://opsb.us/wp-content/uploads/2017/08/Coghill-Program-Description.pdf
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                                Orleans Parish School District Direct Run and Charter Schools
                                      Links to Special Education Program Descriptions
                                                  2017-2018 School Year

       Charter School Association/                                                      Web
                LEA Name                                                               Address
Transferred from RSD to OPSB
for 17-18 SY
Choice Foundation Schools
Esperanza (K-8)                                   http://opsb.us/wp-content/uploads/2017/08/Esperanza-Program-Description.pdf
Lafayette Academy (PK-8)                          http://opsb.us/wp-content/uploads/2017/08/Lafayette-Program-Description.pdf
Collegiate Academy
Sci-Academy (9-12)                                http://opsb.us/wp-content/uploads/2017/08/Sci-Academy-Program-Description.pdf
FirstLine Schools
Arthur Ashe (K-8)                                 http://firstlineschools.org/special-education/
                                                  Click on Arthur Ashe Charter Program Description
Phillis Wheatley (PK-8)                           http://firstlineschools.org/special-education/
                                                  Click on Phillis Wheatley Community School Program Description
Samuel J. Green (K-8)                             http://firstlineschools.org/special-education/
                                                  Click on Samuel J. Green Charter Program Description
Langston Hughes (PK-8)                            http://firstlineschools.org/special-education/
                                                  Click on LHA Program Description
Inspire NOLA
McDonogh 42                                       http://mcdonogh42-no.org/
(transferred to this charter for the 17-18 SY)    click on Academics tab then click on Exceptional Student Services tab
Non-Network Charter School
Edgar P. Harney (K-8)                            http://opsb.us/wp-content/uploads/2017/08/Harney-Program-Description-2.pdf
